                Case 2:18-mj-02623-DUTY Document 2 Filed 10/02/18 Page 1 of 1 Page ID #:2

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                                              UNITED STATES DISTRICT COURT                                           A~910~ 16
                                          CENTRAL DISTRICT OF CALIFORNIA                       ~- = rr t :; ~. ~ '
                                                                                                                 ' ' ~ T 4 ~.-~ u;; ~

                                                                      CASE NUMBER:              __ . __
UNITED STATES OF AMERICA
                                                        PLAINTIFF
                   V.
                                                                                  r ~,~,~ ~• ~--
                                                                                I~EPORT COMMENCING CRIMINAL
   `~'~v~tv. `1~~~~ `L~~~q
                         J                                                                      ACTION
USMS#                                                  DEFENDANT

TO: CLERK'S OFFICE, U.S. DISTRICT COURT

All areas must be completed. Any area not applicable or unknown should indicate "N/A".

 1• Date and time of arrest:         ~ t°~ ~b~2J2~I~     OSd~                          ~AM           ❑ PM

2. The above named defendant is currently hospitalized and cannot be transported to court for arraignment or
    any other preliminary proceeding:           ❑Yes       ~No

3. Defendant is in U.S. Marshals Service lock-up (in this court building):             ~ Yes              ❑ No

4. Charges under which defendant has been booked:



5. Offense charged is a:        [     elony       ❑Minor Offense               ❑Petty Offense             ❑Other Misdemeanor

6. Interpreter Required: '~ No             ❑Yes         Language:

7• Year of Birth:       ~~(q~

8. Defendant has retained counsel:             ~No
       Yes       Name:                                                          Phone Number:


9• Name of Pretrial Services Officer notified:            V Iv Cave     `~ ~     ~$

10. Remarks (if any):


11. Name:          ~~ C~~           ~Q,6l(~                   (please print)

12. Office Phone Number:                 (~~C~ t-f"j~'(~~~                         13. Agency:

14. Signature:          ~                                                          15. Date:           16f(y~~~


CR-64 (05/18)                                  REPORT COMMENCING CRIMINAL ACTION
